






Opinion issued February 25, 2010 









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-09-00917-CV

____________


JOYCE A. BROWN, Appellant


V.


CHANNELVIEW OAKS MOBILE HOME PARK, LLC, Appellee






On Appeal from the 157th District Court

Harris County, Texas

Trial Court Cause No. 2008-33559






MEMORANDUM  OPINION

	Appellant, Joyce A. Brown, has filed a motion to dismiss the appeal.  More
than 10 days have elapsed, and no objection has been filed.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Higley.


